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                                              WESTERN DISTRICT OF TEXAS
UNITED STATES DISTRICT COURT
                                               MIDLAND/ODESSA DIVISION


MARIO VALDIVIA, Individually and          §
On Behalf of All Others Similarly         §
Situated,                                 §
                                          §
             Plaintiff(s),                §
                                          §
v.                                        §
                                                        No. 7:20-cv-00171
                                          §
ANGUS PROVING SERVICES,                   §
LLC; ANGUS MEASUREMENT                    §
SERVICES, LP and ROBERT                   §
TONKIN,                                   §
                                          §
             Defendant(s).                §

         PLAINTIFF MARIO VALDIVIA’S ORIGINAL COMPLAINT

      Plaintiff Mario Valdivia (referred to as “Valdivia”) brings this action under 29

U.S.C. § 216(b) individually and on behalf of all current and former employees of

Defendant Angus Proving Services, LLC (referred to as “Angus Proving”) and

Defendant Angus Measurement Services, LP (referred to as “Angus Measurement”)

and Defendant Robert Tonkin (referred to as “Tonkin”) who were paid on a job-rate

basis without overtime during the past three years to recover back wages, liquidated

damages, attorney’s fees and costs under the Fair Labor Standards Act of 1938, 29

U.S.C. §§ 201-219 (“FLSA”).
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                                   I. Nature of Suit

      1.     Valdivia’s claims arise under the FLSA.

      2.     The FLSA was enacted to eliminate “labor conditions detrimental to the

maintenance of the minimum standard of living necessary for health, efficiency, and

general well-being of workers … .” 29 U.S.C. § 202(a).

      3.     To achieve its humanitarian goals, the FLSA defines appropriate pay

deductions and sets overtime pay, minimum wage and recordkeeping requirements for

covered employers. 29 U.S.C. §§ 206(a), 207(a), 211(c).

      4.     Angus Proving, Angus Measurement and Tonkin violated the FLSA by

employing Valdivia and other similarly situated employees “for a workweek longer than

forty hours [but refusing to compensate them] for [their] employment in excess of

[forty] hours … at a rate not less than one and one-half times the regular rate at which

[they were or are] employed.” 29 U.S.C. § 207(a)(1).

      5.     Angus Proving, Angus Measurement and Tonkin willfully violated the

FLSA because they knew or showed a reckless disregard for whether their pay practices

were unlawful.

      6.     Valdivia brings this action under 29 U.S.C. § 216(b) individually and on

behalf of all current and former employees of Angus Proving, Angus Measurement and

Tonkin who were paid on a job-rate basis without overtime during the past three years.



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                                 II. Jurisdiction & Venue

         7.     This action arises under a federal statute, the FLSA. 28 U.S.C. § 1331

(federal-question jurisdiction).

         8.     Venue is proper in this district and division because a substantial part of

the events or omissions giving rise to Valdivia’s claim occurred in this district and

division. 28 U.S.C. § 1391(b)(2).

                                        III. Parties

         9.     Valdivia is an individual who resides in Ector County, Texas and who was

employed by Angus Proving, Angus Measurement and Tonkin during the last three

years.

         10.    Angus Proving is a Texas limited liability company that may be served

with process by serving its registered agent:

                                       Bob Tonkin
                                 3800 Northwest Loop 338
                                 Odessa, Texas 79764-3123

Alternatively, if the registered agent of Angus Proving cannot with reasonable diligence

be found at the company’s registered office, Angus Proving may be served with process

by serving the Texas Secretary of State. See, Tex. Bus. Org. Code §§ 5.251-5.254; see

also, Tex. Civ. Prac. & Rem. Code § 17.026.




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      11.    Angus Measurement is a Texas limited partnership that may be served

with process by serving its registered agent:

                                 Robert G. Tonkin, V
                               1533 Westbrook Avenue
                               Odessa, Texas 79761-1837

Alternatively, if the registered agent of Angus Measurement cannot with reasonable

diligence be found at the company’s registered office, Angus Measurement may be

served with process by serving the Texas Secretary of State. See, Tex. Bus. Org. Code

§§ 5.251-5.254; see also, Tex. Civ. Prac. & Rem. Code § 17.026.

      12.    Tonkin is an individual who resides in Ector County, Texas and who may

be served with process at:

                               1533 Westbrook Avenue
                               Odessa, Texas 79761-1837

or wherever he may be found. Alternatively, Tonkin may be served with process by

serving an agent or clerk employed in his office or place of business because this action

grows out of or is connected with the business he transacts in this state. See, Tex. Civ.

Prac. & Rem. Code § 17.021.

      13.    An allegation that Angus Proving or Angus Measurement committed any

act or omission should be construed to mean the company’s officers, directors, vice-

principals, agents, servants or employees committed such act or omission and that, at

the time such act or omission was committed, it was done with the full authorization,


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ratification or approval of Angus Proving or Angus Measurement or was done in the

normal course and scope of employment of Angus Proving’s or Angus Measurement’s

officers, directors, vice-principals, agents, servants or employees.

                                        IV. Facts

       14.    Angus Proving and Angus Measurement are oilfield services companies.

       15.    Angus Proving and Angus Measurement do business in the territorial

jurisdiction of this Court.

       16.    Angus Proving and Angus Measurement employed Valdivia from 2010 to

November 2019.

       17.    Angus Proving and Angus Measurement employed Valdivia as a welder.

       18.    Tonkin was also Valdivia’s employer—and individually liable to him for

the FLSA violations described below—because he: (1) had the authority to hire and fire

Angus Proving and Angus Measurement employees, including Valdivia; (2) supervised

or controlled Angus Proving and Angus Measurement employee schedules or

conditions of employment, including Valdivia’s schedule and/or conditions of

employment; (3) determined the rate or method of payment for Angus Proving and

Angus Measurement employees, including Valdivia; and/or (4) maintained Angus

Proving and Angus Measurement employee records, including Valdivia’s records.




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      19.    As a welder, Valdivia was responsible for fabricating and assembling metal

structures and equipment.

      20.    During Valdivia’s employment with Angus Proving and Angus

Measurement, he was engaged in commerce or in the productions of goods for

commerce.

      21.    During Valdivia’s employment with Angus Proving and Angus

Measurement, the company had employees engaged in commerce or in the production

of goods for commerce.

      22.    During Valdivia’s employment with Angus Proving and Angus

Measurement, the company had employees handling, selling or otherwise working on

goods or materials that had been moved in or produced for commerce by others.

      23.    During Valdivia’s employment with Angus Proving and Angus

Measurement, the company had an annual gross volume of sales made or business done

of at least $500,000.

      24.    Angus Proving and Angus Measurement paid Valdivia on a job-rate basis.

      25.    Angus Proving and Angus Measurement paid Valdivia on a biweekly basis

by check.

      26.    During Valdivia’s employment with Angus Proving and Angus

Measurement, he regularly worked in excess of forty hours per week.



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        27.    Angus Proving and Angus Measurement knew or should have known that

Valdivia worked in excess of forty hours per week.

        28.    Angus Proving and Angus Measurement did not pay Valdivia for the

hours he worked in excess of forty per week “at a rate not less than one and one-half

times the regular rate at which he [was] employed.” 29 U.S.C. § 207(a)(1).

        29.    Instead, Angus Proving and Angus Measurement paid Valdivia on a job-

rate basis without overtime.

        30.    Valdivia was not exempt from the maximum hour requirements of the

FLSA.

        31.    As a welder, Valdivia’s primary duties were nonexempt.

        32.    As a welder, Valdivia’s primary duties did not include office or nonmanual

work.

        33.    As a welder, Valdivia’s primary duties were not directly related to the

management or general business operations of Angus Proving, Angus Measurement or

their customers.

        34.    As a welder, Valdivia’s primary duties did not differ substantially from the

duties of traditionally nonexempt hourly workers.

        35.    As a welder, Valdivia did not, in performing his primary duties, regularly

exercise discretion and independent judgment with respect to matters of significance.



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      36.    As a welder, Valdivia was, instead, required to follow Angus Proving’s and

Angus Measurement’s policies, practices and procedures.

      37.    As a welder, Valdivia did not have any independent authority to deviate

from Angus Proving’s and Angus Measurement’s policies, practices and procedures.

      38.    Angus Proving and Angus Measurement knew or should have known that

Valdivia was not exempt from the maximum hour requirements of the FLSA.

      39.    Angus Proving and Angus Measurement willfully violated the FLSA

because they knew or showed a reckless disregard for whether their pay practices were

unlawful.

      40.    During Valdivia’s employment with Angus Proving and Angus

Measurement, the companies did not maintain accurate time and pay records for

Valdivia as required by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.

      41.    During Valdivia’s employment with Angus Proving and Angus

Measurement, the companies did not post and keep posted the notice required by 29

C.F.R. § 516.4.

      42.    Angus Proving and Angus Measurement continued the pay practice(s)

complained of by Valdivia without investigation after being put on notice that the pay

practice(s) violated the FLSA.




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      43.    Angus Proving and Angus Measurement have a history of FLSA

violations that put the companies on actual notice of the requirements of the FLSA.

      44.    Prior to this lawsuit, Angus Proving and Angus Measurement conducted

on or more internal investigations which revealed violations similar to the one(s)

complained of by Valdivia.

      45.    Because Angus Proving and Angus Measurement willfully violated the

FLSA, the company is liable to Valdivia for any FLSA violations that occurred during

the last three years. 29 U.S.C. § 255(a).

      46.    As a result of the FLSA violation(s) described above, Angus Proving and

Angus Measurement are liable to Valdivia for back wages, liquidated damages and

attorney’s fees and costs. 29 U.S.C. § 216(b).

      47.    All workers paid on a job-rate basis without overtime and employed by

Angus Proving and/or Angus Measurement during the last three years are similarly

situated to Valdivia because they (1) have similar job duties; (2) regularly worked or

work in excess of forty hours per week; (3) were or are not paid overtime for the hours

they worked or work in excess of forty per week as required by 29 U.S.C. § 207(a)(1);

and (4) are entitled to recover back wages, liquidated damages and attorney’s fees and

costs from Angus Proving, Angus Measurement and Tonkin under 29 U.S.C. § 216(b).




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                                    V. Count One—
                 Failure to Pay Overtime in Violation of 29 U.S.C. § 207

      48.     Valdivia adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      49.     During Valdivia’s employment with Angus Proving and Angus

Measurement, he was a nonexempt employee.

      50.     As a nonexempt employee, Angus Proving and Angus Measurement were

legally obligated to pay Valdivia “at a rate not less than one and one-half times the

regular rate at which he [was] employed[]” for the hours he worked in excess of forty

per week. 29 U.S.C. § 207(a)(1).

      51.     Angus Proving and Angus Measurement did not pay Valdivia “at a rate

not less than one and one-half times the regular rate at which he [was] employed[]” as

required by 29 U.S.C. § 207(a)(1).

      52.     Instead, Angus Proving and Angus Measurement paid Valdivia on a job-

rate basis without overtime.

      53.     If Angus Proving or Angus Measurement classified Valdivia as exempt

from the maximum hour requirements of the FLSA, he was misclassified.

      54.     As a result of the FLSA violation(s) described above, Angus Proving,

Angus Measurement and Tonkin are liable to Valdivia for back wages equal to the

difference between what the company should have paid and what it actually paid.


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                                    VI. Count Two—
                 Willful Violation of the FLSA Under 29 U.S.C. § 255(a)

      55.     Valdivia adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      56.     Angus Proving and Angus Measurement willfully violated the FLSA

because they knew or showed a reckless disregard for whether their pay practices were

unlawful.

      57.     During Valdivia’s employment with Angus Proving and Angus

Measurement, the companies did not maintain accurate time and pay records for

Valdivia as required by 29 U.S.C. § 211(c) and 29 C.F.R. pt. 516.

      58.     During Valdivia’s employment with Angus Proving and Angus

Measurement, the companies did not post and keep posted the notice required by 29

C.F.R. § 516.4.

      59.     Angus Proving and Angus Measurement continued the pay practice(s)

complained of by Valdivia without investigation after being put on notice that the pay

practice(s) violated the FLSA.

      60.     Angus Proving and Angus Measurement have a history of FLSA

violations that put the companies on actual notice of the requirements of the FLSA.




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      61.     Prior to this lawsuit, Angus Proving and Angus Measurement conducted

on or more internal investigations which revealed violations similar to the one(s)

complained of by Valdivia.

      62.     Because Angus Proving and Angus Measurement willfully violated the

FLSA, the companies and Tonkin are liable to Valdivia for any FLSA violations that

occurred during the last three years. 29 U.S.C. § 255(a).

                                  VII. Count Three—
                 Collective Action Allegations Under 29 U.S.C. § 216(b)

      63.     Valdivia adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

      64.     On information and belief, other employees of Angus Proving and Angus

Measurement have been victimized by the FLSA violation(s) described above.

      65.     These employees are similarly situated to Valdivia because, during the

relevant time period, they held similar positions and were compensated in a similar

manner, which, as explained above, violates the FLSA.

      66.     Angus Proving’s and Angus Measurement’s unlawful policies or practices,

which are described above, are generally applicable policies or practices and do not

depend on the personal circumstances of the putative class members.

      67.     Since Valdivia’s experiences are typical of the experiences of the putative

class members, collective action treatment is appropriate. See, 29 U.S.C. § 216(b).


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       68.     For these reasons, Valdivia requests that the Court certify this case as a

collective action under 29 U.S.C. § 216(b) and authorize notice regarding its pendency

and the right to join it to the following class:

               All workers employed by Angus Proving and/or Angus
               Measurement during the last three years at any location in
               the United States who worked more than forty hours in any
               one or more workweeks and who were paid on a day-rate
               basis without overtime.

       69.     Angus Proving, Angus Measurement and Tonkin are liable to Valdivia

and the putative class members for back wages equal to the difference between what the

companies should have paid and what they actually paid.

       70.     Valdivia has retained counsel who are well-versed FLSA collective action

litigation and who are prepared to litigate this matter vigorously on behalf of him and

all other putative class members.

                              VIII. Count Four—
      Liquidated Damages, Attorney’s Fees & Costs Under 29 U.S.C. § 216(b)

       71.     Valdivia adopts by reference all of the facts set forth above. See, Fed. R.

Civ. P. 10(c).

       72.     Valdivia is authorized to recover liquidated damages on his claims by

statute. 29 U.S.C. § 216(b).

       73.     Valdivia is authorized to recover attorney’s fees and costs on his claims by

statute. 29 U.S.C. § 216(b).


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       74.      Valdivia has retained the professional services of the undersigned

attorneys.

       75.      Valdivia has complied with the conditions precedent to recovering

attorney’s fees and costs.

       76.      Valdivia has incurred or may incur attorney’s fees and costs in bringing

this lawsuit.

       77.      The attorney’s fees and costs incurred or that may be incurred by Valdivia

were or are reasonable and necessary.

       78.      Angus Proving, Angus Measurement and Tonkin is are liable to Valdivia

and the putative class members for liquidated damages, attorney’s fees and costs by

reason of the FLSA violations described above. 29 U.S.C. § 216(b).

                                     IX. Relief Sought

       79.      Valdivia demands the following relief:

                a. an order allowing this action to proceed as a collective action under 29
                   U.S.C. § 216(b);

                b. an incentive award for Valdivia for serving as class representative if the
                   Court allows this action to proceed as a collective action under 29
                   U.S.C. § 216(b);

                c. judgment against Angus Proving, Angus Measurement and Tonkin in
                   Valdivia’s favor both individually and on behalf of the putative class
                   members for back wages, liquidated damages and attorney’s fees, plus
                   interest and costs; and




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              d. all other relief and sums that may be adjudged against Angus Proving,
                 Angus Measurement and Tonkin in Valdivia’s favor both individually
                 and on behalf of the putative class members.


                                                 Respectfully Submitted,

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